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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY



JAMAL A. BARLOW

                                                        Civ. Action No. 20-cv-15594 (KSH)
                   Plaintiffs,

v.


CITY OF TRENTON

                   Defendant.                                 Order for dismissal
                                                          Pursuant to L. Civil Rule 41.1



Katharine S Hayden, U.S.D.J.

       It appearing to the Court that the above case has been pending for more than 90 days

without any proceeding having been taken therein, and no objection having been entered at a call

of the calendar,

       It is on this 26th day of February, 2021

       O R D E R E D that the above case be and the same hereby is dismissed in accordance

with L. Civ. R. 41.1 without prejudice and without cost to either party.



                                              s/ Katharine S. Hayden
                                              Hon. Katharine S. Hayden
                                              United States District Judge
